                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION



                                                          )
GRAMERCY INSURANCE COMPANY                                )
    Plaintiff                                             )       Case No. 3:12-cv-509
                                                          )
v.                                                        )
                                                          )
EXPEDITOR’S EXPRESS, INC., ET AL.                         )
     Defendants                                           )

                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on August 6, 2015.




                                                   KEITH THROCKMORTON, CLERK

                                                   /s/ Debby Sawyer




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